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 8                                     UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
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11     MARLIN PENN,                                     Case No. 1:18-cv-01482-NODJ-HBK (PC)
12                        Plaintiff,                    ORDER GRANTING IN PART PLAINTIFF’S
                                                        MOTION FOR EXTENSION OF TIME
13            v.
                                                        (Doc. No. 101)
14     A. LUCAS,                                        MARCH 15, 2024 DEADLINE
15                        Defendant.
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19           Pending before the Court is pro se Plaintiff Marlin Penn’s motion seeking an extension of

20    time and/or stay of this case filed on December 4, 2023. (Doc. No. 101, “Motion”). Plaintiff seeks

21    a stay of this case or a “30-60” day extension of time after February 15, 2024, to file an opposition

22    to Defendant’s motion for summary judgment or a stay of his case. (Id.). Plaintiff asserts he needs

23    additional time to prepare the motion because typewriter was damaged during a cell search, and he

24    will not receive a replacement typewriter until sometime in January 2024. (Id. at 1-2). Defendant

25    filed a statement on non-opposition to the Motion. (Doc. No. 102).

26           The Court may grant an extension of time “with or without motion or notice if the court

27    acts, or if a request is made, before the original time or its extension expires.” Fed. R. Civ. P.

28    6(b)(1)(A). The Court finds good cause to grant Plaintiff’s requested extension to respond to



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 1    Defendant’s motion for summary judgment but will not stay the case.

 2             Accordingly, it is hereby ORDERED:

 3             Plaintiff’s motion for extension of time (Doc. No. 101) is GRANTED and Plaintiff must

 4    deliver his response to Defendant’s motion for summary judgment to correctional officials for

 5    mailing no later than March 15, 2024. If Plaintiff fails to timely file a response, or seek a

 6    further extension of time, the Court will deem Defendant’s motion for summary judgment ripe for

 7    review without the benefit of response from Plaintiff.

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      Dated:      December 5, 2023
10                                                      HELENA M. BARCH-KUCHTA
                                                        UNITED STATES MAGISTRATE JUDGE
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